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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

BRANDON SIBLEY                 *                   CIVIL ACTION NO.: 23-00375
                               *
VERSUS                         *                   JUDGE SHELLY D. DICK
                               *
CONTINENTAL LAND AND FUR,      *                   MAGISTRATE JUDGE
DEWAYNE CRAWFORD, R. PAUL      *                   SCOTT D. JOHNSON
LOVELESS, STATE OF LOUISIANA – *
WILDLIFE AND FISHERIES, AND    *
JACK MONTEOUCET                *
                               *
* * * * * * * * * * * * *


                          DEFENDANTS’ MOTION FOR
                     PROTECTIVE ORDER TO STAY DISCOVERY

       Defendants, Continental Land & Fur Co., Inc. (“CL&F”), Paul Loveless, and Dwayne

Crawford (collectively “CL&F Defendants”), pursuant to Federal Rule of Civil Procedure 26(c),

move this Court for entry of a protective order staying discovery pending resolution of the CL&F

Defendants’ Motion to Remand (Rec. Doc. 4).

       Under Rule 26, this Court is vested with broad discretion to stay discovery when continued

discovery would cause “annoyance, embarrassment, oppression, or undue burden or expense[.]”

The Fifth Circuit has long recognized good cause to stay discovery while a party’s claims are

subject to a pending dispositive motion. See, e.g., Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir.

1987); Corwin v. Marney, Orton Investments, 843 F.2d 194, 200 (5th Cir. 1988); Scroggins v. Air

Cargo, Inc., 534 F.2d 1124, 1133 (5th Cir. 1976); Brown v. DFS Servs., L.L.C., 434 F. App'x 347,

351–52 (5th Cir. 2011). This Court has recognized that it may serve “the interests of judicial

economy” to issue a stay pending resolution of a motion to remand “until it can be determined
